    8:18-mj-00053-MDN          Doc # 12      Filed: 02/02/18         Page 1 of 1 - Page ID # 36




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                        8:18MJ53

       vs.
                                                                           ORDER
MARIBEL LIZARRAGA,

                       Defendant.


       This matter comes before the Court on the request of the Federal Public Defender for the
Court to authorize Joseph Cervantes, as a Criminal Justice Act Training Panel Member, to assist
in the defense of Maribel Lizarraga.
       Accordingly, pursuant to the terms of Appendix I, Part 1(c) of the Amended Criminal
Justice Act Plan for the District of Nebraska, Joseph Cervantes is hereby assigned to assist the
Federal Public Defender (FPD) David R. Stickman in the representation of the Defendant in the
above-captioned case, and must file an entry of appearance forthwith. Joseph Cervantes shall not
be eligible to receive compensation for his services in this case.
       FPD David R. Stickman shall continue to be primary counsel on behalf of the Defendant,
Maribel Lizarraga.


       Dated this 2nd day of February, 2018.

                                                      BY THE COURT:

                                                      s/ Michael D. Nelson
                                                      United States Magistrate Judge
